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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


UNITED STATES OF AMERICA
ex rel. PAULA C. LORONA, and
REID POTTER,

       Plaintiff,
                                                   Case No. 3:15-cv-959-J-34JRK
v.

INFILAW CORPORATION, ARIZONA
SUMMIT LAW SCHOOL, LLC, FLORIDA
COASTAL SCHOOL OF LAW,
CHARLOTTE SCHOOL OF LAW, and
BARBRI, INC.,

      Defendants.
______________________________________/

                    DEFENDANT BARBRI, INC.’S DISPOSITIVE
               MOTION TO DISMISS AND MEMORANDUM IN SUPPORT

       Defendant BARBRI, Inc. (“BARBRI”), by and through undersigned counsel, moves to

dismiss Count III of the Third Amended Complaint (doc. 36) pursuant to Rules 8, 9(b), and

12(b)(6) of the Federal Rules of Civil Procedure and Local Rule 3.01 for failure to state a claim

upon which relief can be granted. Count III of the Third Amended Complaint is the only Count

in which BARBRI is named. In support thereof, Defendant BARBRI offers the following

memorandum.

I.     INTRODUCTION

       Plaintiffs are former students at, and employees of, Arizona Summit Law School

(“ASLS”), an institution that is owned and operated by Infilaw Corporation (“Infilaw”) along

with Charlotte School of Law (“CSL”), and Florida Coastal School of Law (“FCSL” and,

collectively with ASLS and CSL, “Defendant Institutions”). (doc. 36, ¶¶ 2-7). The essence of

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Plaintiffs’ Third Amended Complaint, as it relates to BARBRI, is that Infilaw, the Defendant

Institutions, and BARBRI conspired to engage in a scheme to circumvent the requirement under

Title IV of the Higher Education Act of 1965, as amended (“Title IV”), and implementing

regulations that an institution derive more than ten percent of its revenue from sources other than

the programs authorized under Title IV (“Title IV Programs”), also known as the “90/10 Rule.”

20 U.S.C. § 1094(a)(24). Plaintiffs allege that this conspiracy was a violation of the federal

False Claims Act, and specifically 31 U.S.C. § 3729(a)(1)(C).

       The    Third    Amended     Complaint     contains    additional   allegations   related   to

misrepresentations by the Defendant Institutions (doc. 36, ¶¶ 127-197) and circumvention of

American Bar Association accreditation requirements (doc. 36, ¶¶ 198-205), but BARBRI is not

mentioned in any of these allegations. Despite the Third Amended Complaint only mentioning

BARBRI in one portion of the allegations related to violations of the 90/10 Rule (doc. 36, ¶¶ 76-

126), Plaintiffs inexplicably incorporate ¶¶ 22-205 by reference into Count III, the only Count

brought against BARBRI.

II.    ARGUMENT

       A.      Standard on Motion to Dismiss

       Rule 12(b)(6) of the Federal Rules of Civil Procedure (“FRCP”) provides for dismissal

of an action for failure to state a claim upon which relief may be granted. In determining

whether to grant a motion to dismiss, the court must construe the allegations in the complaint in a

light most favorable to the plaintiff. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974); Cole v.

United States, 755 F.2d 873, 878 (11th Cir. 1985). However, the complaint must allege “enough

facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007). To be considered plausible on its face, the complaint must plead sufficient



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factual content to allow “the court to draw the reasonable inference that the defense is liable for

the alleged misconduct.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

          The Supreme Court has further explained that:

          While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
          detailed factual allegations, a plaintiff’s obligation to provide the grounds of his
          entitlement to relief requires more than labels and conclusions, and a formulaic
          recitation of the elements of a cause of action will not do. Factual allegations must
          be enough to raise a right to relief above the speculative level.

Twombly, 550 U.S. at 555 (internal citations omitted). In other words, “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Iqbal, 556 U.S. at 678.

          As Count III alleges a violation of the False Claims Act, Plaintiffs must meet the pleading

standards set forth in both FRCP 8 and 9(b). See Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039,

1051 (11th Cir. 2015) (“Urquilla-Diaz”). Because Count III of Plaintiffs’ Third Amended

Complaint does not comply with FRCP 8 or the heightened pleading standard in FRCP 9(b), and

fails to state a claim on which relief may be granted pursuant to FRCP 12(b)(6), Count III should

be dismissed with prejudice as to BARBRI.

          B.     Count III Fails to Comply with FRCP 8(a)(2).

          FRCP 8(a)(2) requires that a complaint contain a “short and plain statement of the claim

showing that the pleader is entitled to relief.” However, Plaintiffs continue to resort to a

“shotgun” manner of pleading, despite prior admonishment from this Court for precisely this

defect.    (doc. 35).    Count III incorporates by reference ¶¶ 22-205 of the Third Amended

Complaint. However, only ¶¶ 76-126 contain substantive allegations against BARBRI, and

Count III does not explain how BARBRI conspired to commit any wrongdoing related to the




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remaining allegations.1 In addition to incorporating by reference allegations that never mention

BARBRI, Count III contains a substantive allegation that the Defendants, including BARBRI,

conspired to “defraud the DOE by accepting students who otherwise could not attend law school;

by submitting falsified revenue data to feign compliance with the 90/10 Rule; and by fabricating

bar passage and career prospect statistics.” (doc. 36, ¶ 232). While a charitable reading of the

allegations against BARBRI could be read to include a conspiracy related to “submitting

falsified revenue data to feign compliance with the 90/10 Rule,” BARBRI is not mentioned once

in any allegations related to the acceptance of unqualified students or fabricated bar passage and

career prospect statistics (doc. 36, ¶¶ 127-205). Plaintiffs make the same mistake in ¶ 233 when

they allege that Infilaw and the Defendant Institutions conspired with BARBRI to manipulate

90/10 and bar passage rates.

       The failure of Plaintiffs to comply with FRCP 8(a)(2) and “state their claims intelligibly

so as to inform the defendants of the legal claims being asserted” places BARBRI and this Court

in the untenable position of trying to determine which of the allegations in the Third Amended

Complaint are truly applicable to the conspiracy claim brought against BARBRI. Mann v.

Boatright, 477 F.3d 1140, 1148 (10th Cir. 2007); see also United States ex rel. Brooks v.

Stevens-Henager College, 305 F.Supp.3d 1279, 1307-08 (D. Utah 2018) (“Brooks”) (“Relators

do not distinguish between individual defendants in their claims for relief, nor do they state

separate claims for relief based on the distinct sets of false statements.”). This task is even more

difficult given Plaintiffs’ statement later in ¶ 232 that the list of acts in which the Defendants,

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  BARBRI is mentioned in the portion of the Third Amended Complaint describing the parties (¶
12), describing the employment of Plaintiff Potter (¶ 29, which includes similar allegations to
those in ¶¶ 76-126), and alleging that Infilaw and the Defendant Institutions created an internal
bar exam preparation program to compete with BARBRI, but not alleging any acts by BARBRI
(¶¶ 61, 64, 71). BARBRI is not mentioned in any other substantive allegations, despite Plaintiffs
incorporating other allegations into Count III by reference.
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including BARBRI, conspired “is without limitation” and that Defendants “committed other

overt acts in furtherance of the conspiracy.” As noted, this Court has already admonished

Plaintiffs sua sponte for the shotgun nature of their pleading. (doc. 35) (striking Plaintiffs’

Second Amended Complaint and noting that the Court had already struck Plaintiffs’ original

Complaint). The Eleventh Circuit has required district courts which have dismissed complaints

on shotgun pleadings grounds to sua sponte allow litigants one chance to remedy the pleading

deficiencies, but has noted that implicit in the repleading order is the notion that the court will

strike the pleading or dismiss the case if a plaintiff files a second pleading with the same

deficiency. Vibe Micro, Inc. v. Shabanets, 878 F. 3d 1291, 1295 (11th Cir. 2018) (interpreting

Byrne v. Nezhat, 261 F.3d 1075 (11th Cir. 2001) and Wagner v. Daewoo Heavy Indus. Am.

Corp., 314 F.3d 541 (11th Cir. 2002)). The Eleventh Circuit specifically held:

       When a litigant filed a shotgun pleading, is represented by counsel, and fails to
       request leave to amend, a district court must sua sponte give him one chance to
       replead before dismissing his case with prejudice on non-merits shotgun pleading
       grounds. In the repleading order, the district court should explain how the
       offending pleading violates the shotgun pleading rule so that the party may
       properly avoid future shotgun pleadings. Although the Byrne line of cases
       requires one sua sponte chance to amend a shotgun pleading, Daewoo operates in
       the background. After that one Byrne opportunity to replead comes and goes,
       Daewoo’s rule operates to allow the district court to dismiss with prejudice if the
       party has still neither filed a compliant pleading nor asked for leave to amend.
       This holding “ensures that the issues get defined at the earliest stages of
       litigation,” while also weighing the important concerns upon which Daewoo
       rested, including judicial efficiency, finality, and limiting lengthy delays or abuse
       of the courts.

Id. at 1296 (internal citations omitted).

       The shotgun nature of the Third Amended Complaint does not comply with FRCP 8(a)(2)

because it fails to specify which substantive allegations incorporated by cross-reference are




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applicable to BARBRI.2 Count III also fails to comply with FRCP 8(a)(2) because it states that

BARBRI conspired with other Defendants with regard to schemes alleged in portions of the

Third Amended Complaint that never reference BARBRI. This Court has already stricken two

versions of the Plaintiffs’ complaint as impermissible shotgun pleadings, but the Third Amended

Complaint still suffers from this defect. Therefore, BARBRI respectfully requests that the Court

dismiss Count III with prejudice as to BARBRI for failure to meet the pleading requirements set

forth in FRCP 8 and the Court’s sua sponte order.

       C.     Count III Fails to State a Claim Against BARBRI under 31 U.S.C. §
       3729(a)(1)(C).

       To state a False Claims Act conspiracy claim pursuant to 31 U.S.C. § 3729(a)(1)(C), a

relator must establish “(1) that the defendant conspired with at least one person to get a false or

fraudulent claim paid by the Government; and (2) that at least one of the conspirators performed

an overt act to get a false or fraudulent claim paid.” United States ex rel. Chase v. LifePath

Hospice, Inc., No. 8:10-cv-1061-T-30TGW, 2016 WL 5239863, at *8 (M.D. Fla. Sept. 22, 2016)

(“Chase”). Furthermore, a conspiracy in the context of a False Claims Act claim requires a

meeting of the minds to defraud the government. Id. Complaints that allege violations of the

False Claims Act must meet the pleading standard set forth in FRCP 9(b). Urquilla-Diaz at

1051. To comply with this heightened pleading standard, relators must allege “facts as to time,

place, and substance of the defendant’s alleged fraud” and “the details of the defendants’

allegedly fraudulent acts, when they occurred, and who engaged in them. Id. (citations omitted).

This includes an obligation to plead, with particularity, the actual presentment of a claim to the



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 With respect to those portions of the Third Amended Complaint incorporated by reference into
Count III that never mention BARBRI, Plaintiffs also fail to meet the higher pleading standard
under FRCP 9(b) as they state no facts related to BARBRI, whether with particularity or
otherwise.
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government. Id. at 1052. Conspiracy claims brought under the False Claims Act must also meet

the heightened pleading standard in FRCP 9(b) and courts have held that “a failure to adequately

allege the existence of a false claim is fatal to a conspiracy claim.” Chase at *9.

       The Third Amended Complaint fails to plead the elements of a False Claims Act

conspiracy claim against BARBRI with the specificity required by FRCP 9(b) and the Court

should therefore dismiss this Count III as to BARBRI.

               1. Background on the 90/10 Rule.

       The Third Amended Complaint provides a very brief description of the 90/10 Rule, (doc.

36, ¶¶ 37-38), but does not discuss how institutions calculate the percentage of total revenue

attributable to Title IV funds (“90/10 Rate”). As brief background, institutions report a 90/10

Rate on financial statements that are submitted annually to the U.S. Department of Education.

34 C.F.R. § 668.23(d). These financial statements must be audited by independent auditors prior

to submission. Id. The financial statements must include a footnote disclosing the 90/10 Rate

calculation including the numerator, denominator, and individual revenue amounts. Id. at (d)(3).

To comply with the 90/10 Rule, an institution must report a 90/10 Rate for a given fiscal year

reflecting that at least ten percent of its revenue was derived from sources other than Title IV

funds. 34 C.F.R. § 668.28(a)(1).

       Even a cursory review of 34 C.F.R. 668 Subpart B, Appendix C, which sets forth the

mechanics of the 90/10 Rate calculation, demonstrates that there are many variables that must be

taken into account to determine what revenue factors into the equation and how that revenue is

allocated between the numerator and denominator. For example, only revenue generated from

certain programs and activities is included in the 90/10 Rate calculation and certain funds are

specifically excluded from revenues. 34 C.F.R. § 668.28(a)(3) and (a)(7). Institutions report a



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90/10 Rate on an aggregate student basis, but Title IV and non-Title IV revenue are determined

and summed on a student by student basis. 34 C.F.R. 668 Subpart B, Appendix C. The ultimate

90/10 Rate calculation consists of a numerator (Adjusted Student Title IV Revenue) and a

denominator (Adjusted Student Title IV Revenue plus Student Non-Title IV Revenue plus Total

Revenue from Other Sources). Id.

       Plaintiffs fail to allege how the 90/10 Rate or Rates reported by any Defendant Institution

did not comply with 34 C.F.R. § 668.28 or 34 C.F.R. 668 Subpart B, Appendix C.

              2. Plaintiffs fail to allege the existence of a false claim.

       The Third Amended Complaint contains several allegations regarding various efforts by

Infilaw and the Defendant Institutions to manipulate or falsify their 90/10 Rates, only one of

which involves BARBRI. The Third Amended Complaint sets forth the publicly available 90/10

Rates for the Defendant Institutions in the 2009-10, 2012-13, and 2013-14 fiscal years. (doc. 36,

¶¶ 40-42). Notably, none of the rates listed for any of the Defendant Institutions is above 90%.

Nowhere does the Third Amended Complaint allege that, but for the alleged attempts to

manipulate the 90/10 Rates, any Defendant Institutions would have had a 90/10 Rate above 90%.

More specifically, the Third Amended Complaint fails to allege that the arrangement between

BARBRI, Infilaw, and the Defendant Institutions discussed in ¶¶ 76-126 would have caused any

of the Defendant Institutions to have a failing 90/10 Rate. The most the Third Amended

Complaint can muster is to state that, prior to the creation of the internal bar preparation

program, the Defendant Institutions “were in danger of violating the 90/10 Rule.” (doc. 36, ¶

89).

        Even if one of the Defendant Institutions had reported a 90/10 Rate above 90% for a

given fiscal year, it would have remained eligible to participate in the Title IV Programs on a



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provisional basis for two fiscal years following the fiscal year in which it exceeded 90%. 20

U.S.C. § 1094(d)(2)(B); 34 C.F.R. § 668.28(c)(2). A Defendant Institution would only lose

eligibility to participate in the Title IV Programs if it failed to comply with the 90/10 Rule for

two consecutive fiscal years. 20 U.S.C. § 1094(d)(2)(A); 34 C.F.R. § 668.28(c)(1).

        As noted above, “a failure to adequately allege the existence of a false claim is fatal to a

conspiracy claim.” Chase at *9. The only “claims” that the Third Amended Complaint alleges

were presented to the government were the Program Participation Agreements (“PPAs”)

whereby the Defendant Institutions agree to comply with Title IV Program rules and regulations.

(doc. 36, ¶¶ 30-36). With respect to the allegations of 90/10 noncompliance, which are the only

allegations that mention BARBRI, the Third Amended Complaint alleges that the PPAs were

falsely certified because the Defendant Institutions “failed to comply with and fraudulently

circumvented the 90/10 Rule.” (doc. 36, ¶ 210). However, without having alleged that any

Defendant Institution would have reported a 90/10 Rate above 90%, let alone a 90/10 Rate above

90% for two consecutive fiscal years, Plaintiffs failed to allege facts supporting their theory that

the PPAs were falsely certified.

       Courts that have evaluated similar False Claims Act claims premised on manipulation of

90/10 Rates have held that relators must allege with particularity that an institution received

more than 90% of its revenues from the Title IV Programs or received less than 10% of its

revenue from non-Title IV Program sources. Urquilla-Diaz at 1056. In the Urquilla-Diaz case,

the relator alleged that an institution was attempting to manipulate its 90/10 Rate by creating a

scholarship program for employees that came from Title IV Program revenue but was treated as

cash payments from students. Id. In dismissing this portion of the relator’s claim, the Eleventh

Circuit held that a general allegation of 90/10 manipulation “does not make it plausible (as



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 opposed to merely possible) that the school violated the 90/10 rule” and added that the relator’s

 allegations “were merely consistent with Kaplan having violated this rule, but that is not enough

 to state a claim under the False Claims Act.” Id.

        Similarly, a District Court in Utah recently addressed allegations that an institution used a

 “scheme” involving textbooks to hide 90/10 Rule violations. Brooks at 1312. In dismissing the

 claim based on the alleged scheme, the Brooks court held that “Relators have not alleged with

 particularity whether this scheme actually resulted in 90/10 Rule violations” and “there are no

 allegations concerning whether the Colleges actually derived less than ten percent of their

 revenue from sources other than Title IV for two consecutive years because of the ‘scheme.’” Id.

 (emphasis in original). The Brooks court also noted that relators’ claims were undermined when,

 as here, the complaint alleges that the institutions derived less than 90% of their revenue from

 the Title IV Programs.     Id. at n.23 (“Problematically, Relators do not explain what these

 percentages would be but for the textbook ‘scheme.’”) (emphasis in original); (doc. 36, ¶¶ 40-

 42).

        To state a False Claims Act claim related to a violation of the 90/10 Rule, the Plaintiffs

 must allege with particularity that, absent the actions taken by Defendants, one or more of the

 Defendant Institutions would have received more than 90% of its total revenues from the Title

 IV Programs for two consecutive fiscal years. The Third Amended Complaint contains no such

 allegations and therefore fails to state a claim upon which relief may be granted. Chase at *9.

                3. Plaintiffs fail to adequately allege the extent of alleged 90/10 violations.

        Even if Plaintiffs had alleged that one or more of the Defendant Institutions would have

 received more than 90% of its total revenues from the Title IV Programs absent the alleged

 manipulation of 90/10 Rates, the Third Amended Complaint does not allege with particularity



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 that the arrangement between BARBRI, Infilaw, and the Defendant Institutions caused a

 Defendant Institution to have a failing 90/10 Rate, let alone a failing 90/10 Rate for two

 consecutive years. The portion of the Third Amended Complaint dedicated to potential 90/10

 violations lists three ways in which Infilaw and the Defendant Institutions allegedly manipulated

 the 90/10 Rates: an institutional loan program, the implementation of the MyBar bar exam

 preparation program, and a check exchange arrangement with BARBRI.

        The Third Amended Complaint fails to allege that the check exchange arrangement with

 BARBRI “moved the needle” on any Defendant Institution’s 90/10 Rate such that it reported less

 than 90% of its total revenue from the Title IV Programs in a particular fiscal year when it would

 not have otherwise been able to do so.3 To adequately plead such facts, Plaintiffs would have

 had to allege with particularity: 1) the extent to which each alleged 90/10 manipulation scheme

 altered a 90/10 Rate (including the dollar amount associated with each scheme and how it

 affected total revenue, Title IV Program revenue, and non-Title IV Program revenue), 2) the

 extent to which the 90/10 Rate of each individual Defendant Institution was affected,4 and 3) the

 fiscal year in which the effect occurred. Plaintiffs failed to plead facts with particularity as to

 any of these three data points.

        The only dollar amount mentioned in the Third Amended Complaint associated with the

 check exchange arrangement with BARBRI is $184,000, some portion of which Plaintiffs allege

 was reported as non-Title IV income by ASLS for the 2012 fiscal year. (doc. 36, ¶ 110). The

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   Nor does the Third Amended Complaint allege whether or to what extent the institutional loan
 program or internal bar exam preparation course affected the 90/10 Rate of any Defendant
 Institution. Plaintiffs thus failed to plead with particularity what effect each alleged scheme had
 on 90/10 Rates, or even whether all alleged schemes taken together affected the 90/10 Rate of
 any Defendant Institution.
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   As noted in ¶¶ 40-42 of the Third Amended Complaint, each Defendant Institution reports its
 own 90/10 Rate, so allegations of a scheme to manipulate a 90/10 Rate must state which
 Defendant Institution’s 90/10 Rate was affected.
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 Third Amended Complaint does not include any dollar amounts attributable to the check

 exchange arrangement with BARBRI that relate to any Defendant Institution other than ASLS,

 or to any fiscal year other than 2012.5 The Third Amended Complaint lists the 90/10 Rates and

 total revenues for each Defendant Institution for certain years (doc. 36, ¶¶ 40-42) but curiously

 does not provide the 90/10 Rates for the 2011-2012 fiscal year despite those rates being publicly

 available. The Plaintiffs therefore failed to allege the information needed to determine whether

 $184,000 would have been enough to cause ASLS to report a failing 90/10 Rate in that fiscal

 year. In addition, as the Third Amended Complaint only contains a dollar amount associated

 with the check exchange arrangement with BARBRI attributable to one fiscal year, Plaintiffs

 failed to plead facts sufficient to establish that ASLS would have reported failing 90/10 Rates in

 two consecutive fiscal years.

        Even if the Third Amended Complaint had alleged that a Defendant Institution would

 have exceeded the 90% threshold, which it does not, it fails to plead with particularity which

 Defendant Institution was so affected, during which year or years, and whether the exceeding of

 that threshold was attributable to an alleged conspiracy involving BARBRI. Count III of the

 Third Amended Complaint therefore does not meet the heightened pleading standards set forth in

 FRCP 9(b) and should be dismissed as to BARBRI.

                4. Plaintiffs fail to adequately allege a conspiracy.

        As district courts in this circuit have held, relators must adequately allege a meeting of

 the minds to defraud the government in order to successfully plead a False Claims Act

 conspiracy claim. Chase at *8. The Chase court noted that the complaint in that case did not



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   The Third Amended Complaint alleges that the check exchange arrangement also occurred in
 2013, but again mentions only ASLS and fails to provide a dollar amount, making it impossible
 to determine what effect this arrangement could have had on ASLS’s 2013 90/10 Rate. 
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 allege a specific agreement for a benefit exchange related to patient referrals and “more

 important, nowhere does the complaint allege a specific agreement to engage in this exchange

 for the purpose of defrauding the government.” Id. at *9. While Plaintiffs have alleged the

 existence of an agreement whereby BARBRI would provide Infilaw with materials for the

 creation of internal bar review programs at the Defendant Institutions, Plaintiffs do not allege

 with particularity that this agreement was for the purpose of defrauding the government.

        All of the allegations in the Third Amended Complaint that bear upon the intent of

 BARBRI and the other Defendants in entering into the agreement are, at best, conclusory

 assertions that the Defendants knowingly conspired. For example:

       ¶ 96: “Barbri entered into its agreement with Infilaw in connection with the Defendant

        Schools’ internal bar exam programs knowing full well that the purpose of the program

        was to inflate and falsify the Schools’ non-Title IV revenue to avoid having the schools

        become automatically ineligible for Title IV funding.”

       ¶ 97: “Relator Reid Potter was present during discussions with Barbri employees where

        this purpose (and its potential illegality) was discussed.”

       ¶ 98: “Mary Goza was aware that inflating ASLS’s non-Title IV revenue was the main

        purpose of the MyBar Program.”

       ¶ 126: “Infilaw, the Defendant Schools, and Barbri conspired to manipulate and falsify

        the Defendant Schools’ 90/10 Rule data by entering into an illegal price fixing and anti-

        competitive arrangement that limited students’ ability choose between multiple

        competing live bar preparation programs, as well as eliminating discounts and other

        incentives that would typically be offered to students by Barbri and other established

        programs.”


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 As the Chase court held, such bare legal conclusions that Defendants knowingly conspired “may

 very well fail to state a claim under Rule 8” and “certainly fail[] under Rule 9.” Id. at *9. These

 allegations simply do not contain the detail necessary to pass muster under FRCP 9(b). For

 example, ¶ 97 does not identify the BARBRI employees or when such discussions took place.

 Similarly, ¶ 98 does not allege facts to support the notion that Mary Goza was aware that there

 was inflation of ASLS’s non-Title IV revenue. In fact, the only allegation that provides specifics

 regarding Mary Goza’s participation in the alleged scheme is ¶ 108 which excerpts an e-mail in

 which she is describing how the Defendant Institutions can “ensure compliance with 90/10.”

 (emphasis in original).

        Plaintiffs failed to allege facts with particularity supporting their allegation that BARBRI,

 Infilaw, and the Defendant Schools entered into an arrangement for the purpose of defrauding

 the government. Plaintiffs therefore fail to state a False Claims Act conspiracy claim against

 BARBRI.

                5. Plaintiffs fail to adequately allege that BARBRI had any knowledge of the
                   90/10 Rates of the Defendant Institutions.

        In addition to failing to allege, with particularity, a meeting of the minds between

 BARBRI and the other Defendants to defraud the government, Plaintiffs fail to allege that

 BARBRI had knowledge of, or input regarding, the 90/10 Rates of any Defendant Institution.

 Plaintiffs do allege that BARBRI was aware that ASLS needed to comply with the 90/10 Rule

 during the check exchange arrangement, as evidence by Mary Goza’s e-mail describing the need

 to ensure compliance with the 90/10 Rule. (doc. 36, ¶ 108). But the Plaintiffs do not allege that

 BARBRI was aware of how Infilaw or any Defendant Institution calculated 90/10 Rates each

 year or even what 90/10 Rates any Defendant Institution was reporting to the U.S. Department of

 Education. Nor do the Plaintiffs allege with particularity that BARBRI was aware of the

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 existence or terms of the PPAs or any requirement or certification that the Defendant Institutions

 comply with certain statutory or regulatory requirements, let alone the 90/10 Rule. As noted

 previously, the only “claims” alleged to have been submitted to the government are the PPAs.

 There are no allegations in the Third Amended Complaint stating when the PPAs were signed

 and whether Infilaw and the Defendant Institutions had entered into an arrangement with

 BARBRI before or after the PPAs were signed.

        Having failed to allege BARBRI’s knowledge of, or involvement in, the terms or signing

 of the PPAs, Plaintiffs failed to plead with particularity that BARBRI entered into an

 arrangement with Infilaw and/or the Defendant Institutions to defraud the government.

                6. Plaintiffs fail to adequately allege that BARBRI had the requisite scienter.

        A False Claims Act relator must demonstrate that the person responsible for making the

 claims for payment acted with knowledge that the claim was false, acted in deliberate ignorance

 of the falsity of the claim, or acted in reckless disregard of the truth or falsity of the claim. See

 United States ex rel. Lee v. Corinthian Colleges, 655 F.3d 984, 996-97 (9th Cir. 2011). In the

 case of a corporation, if a lower level employee violates a regulation, False Claims Act liability

 does not attach unless that employee knows that he or she is causing the submission of a false

 claim. As the court noted in Corinthian,

        The Complaint fails to allege that the Individual Defendants had any role in
        making a false statement to the United States government. While it does assert
        that the individuals monitored Corinthian’s recruiter compensation practices, it
        does not allege that the Individual Defendants participated in certifying HEA
        compliance to the DOE for the purpose of receiving federal funds.

 Id. at 997-998. Therefore, if a lower level employee is not involved in, or aware of, the

 requirements involved in submitting a claim, he or she cannot be held liable for the submission

 of a false claim.



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        This same rationale applies to a conspiracy claim, as there is no support in the False

 Claims Act for imposing a less stringent scienter standard on a conspirator than on the party that

 actually submits the claim. Plaintiffs fail to allege any facts regarding Mary Goza, such as her

 position with BARBRI or responsibilities with respect to any arrangement between BARBRI and

 the Defendant Institutions or Infilaw, to indicate that she had any role in a Defendant Institution

 submitting a PPA or any other claim or certification of compliance. Nor do Plaintiffs allege any

 such facts as to any other BARBRI employee. Plaintiffs therefore fail to allege that BARBRI

 had the requisite scienter to violate the False Claims Act.

                7. Plaintiffs fail to adequately allege materiality.

        The Supreme Court’s recent opinion in Universal Health Servs., Inc. v. United States ex

 rel. Escobar, ––– U.S. ––––, 136 S.Ct. 1989, 2016 WL 3317565 (2016) (“Escobar”) specifically

 noted that relators must plead facts in compliance with FRCP 9(b) to support allegations that an

 alleged violation is material to the government’s decision to pay. Escobar at 2004 n.6. The

 Escobar court emphasized that the materiality standard is “demanding.” Id. at 2003.

        As discussed above, Plaintiffs failed to plead with particularity that any Defendant

 Institution would have reported failing 90/10 Rates in two consecutive fiscal years as a result of

 the check exchange arrangement with BARBRI. Plaintiffs therefore failed to adequately allege

 that any conduct of BARBRI was material, as no Defendant Institution would have lost its

 institutional eligibility pursuant to 20 U.S.C. § 1094(d)(2)(A). Even if Plaintiffs had adequately

 alleged that any Defendant Institution would have reported a failing 90/10 Rate in one fiscal year

 but for the check exchange arrangement with BARBRI, which they did not, they still would have

 failed to allege that the arrangement was material to the government’s decision to pay as the

 applicable statute and implementing regulations specifically allow institutions to continue



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 participating in the Title IV Programs unless they have failing 90/10 Rates in two consecutive

 years. 20 U.S.C. § 1094(d)(2); 34 C.F.R. § 668.28(c).

        The Third Amended Complaint alleges that BARBRI was involved in a conspiracy to

 inflate, manipulate, or falsify 90/10 Rates, but these allegations are tied to the Title IV eligibility

 of the Defendant Institutions. (doc. 36, ¶ 96). The Third Amended Complaint also alleges that

 Infilaw and the Defendant Institutions, but not BARBRI, discussed “that it would be beneficial

 for the statistics to appear as though revenue was split 80/20, so that the government would not

 become suspicious and begin an investigation into actual compliance.” (doc. 36, ¶ 44). Given

 the shotgun nature of the Third Amended Complaint, BARBRI is unsure of whether Plaintiffs

 are claiming that its alleged involvement in a conspiracy violated the False Claims Act even if

 the purpose of the conspiracy was to avoid regulatory scrutiny rather than incurring and reporting

 a failing 90/10 Rate.

        To the extent Plaintiffs do so allege, this theory is inconsistent with how the Eleventh

 Circuit has evaluated allegations of manipulating 90/10 Rates. See, e.g., Urquilla-Diaz at 1056.

 Plaintiffs have failed to allege with particularity that the manipulation of a 90/10 Rate unrelated

 to whether a Defendant Institution reported a passing 90/10 Rate (i.e. to avoid regulatory

 scrutiny) would meet the demanding materiality standard set forth in Escobar. The Escobar

 court provided examples of facts that support an inference or non-inference of materiality, such

 as whether the government consistently refuses to pay, or continues to pay, claims when it is

 aware of a particular regulatory violation. Escobar at 2003-04. Plaintiffs have failed to allege

 any facts to support an allegation that minor manipulations of the 90/10 Rate that do not “move

 the needle” are nevertheless material to the government’s decision to pay.




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        Having failed to allege that any Defendant Institution would have reported a failing 90/10

 Rate for two consecutive years, or that the government would refuse to pay claims if it was

 aware of manipulation of 90/10 percentages that did not meaningfully affect a Defendant

 Institution’s Title IV eligibility, Plaintiffs failed to plead with particularity that BARBRI’s

 alleged conspiracy with Infilaw and/or the Defendant Institutions was material to the

 government’s decision to pay.

 III.   Conclusion

        WHEREFORE, Defendant BARBRI respectfully requests that this Honorable Court grant

 its Motion to Dismiss and dismiss Count III for failure to state a claim against BARBRI.

                                 REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 3.01(j), Defendant requests the opportunity to present oral

 argument in support of the instant motion. Defendant estimates the time required for oral

 argument is one hour.

 Dated: September 21, 2018                   Respectfully submitted:

                                             GUNSTER, YOAKLEY & STEWART, P.A.

                                             By      /s/ David M. Wells

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 21st day of September, 2018, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following:

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